
979 So.2d 1278 (2008)
STATE ex rel. John G. ROWELL
v.
STATE of Louisiana.
No. 2007-KH-1553.
Supreme Court of Louisiana.
May 2, 2008.
In re Rowell, John G.;  Plaintiff; Applying for Supervisory and/or Remedial *1279 Writs, Parish of Jefferson, 24th Judicial District Court Div. P, No. 97-566; to the Court of Appeal, Fifth Circuit, No. 07-KH-323.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
